Case 2:04-Cr-20398-BBD Document 34 Filed 05/27/05 Page 1 of 3 Page|D 54

IN 'I`HE U'NITE.`D STATES DISTRICT COURT PH'F':D ‘m'i`f`
FOR THE WES'I‘ERN DISTRICT OF' 'I'ENNESSEE
WES’I`ERN DIVISION

 

 

UNITED STATES OF AMERICA

 

Plaintiff,

er_mj.na.l NO. Or_'.{'- -';_;,;;gc'.~é» Ml

 

(3 0 -Day Continuance)

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Defendant (s) .

 

CONSEN'I` ORDER ON CRIMINAL CASE CON'I`INUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be

continued for reasons resulting in the exclusion of time under the

Speedy Trial Act. The case is currently set on the June, 2005,

TL€AL {r-` ,l-‘_~|
criminal rotation calendar, but is now RESET fe~r r~@:]_a…
\,J".-\`.¢ »J.-> givenan E£Pm‘r BA'.:~;

M.-GH~H… with trial to take place on the

July, 2005 rotation calendar with the time excluded under the

 

Speedy Trial Act through July 15, 2005. Agreed in open court at

OOB. . "\

report date this 27th day of May

 
 
   

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SO ORDERED this 27m'day of May, 2005.

MM@Q

PHIPPS MCCALLA
UN TED STATES DIS'I`RICT JUDGEI

 

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/th£§si ant United States Attorney

 

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VK?

 

 

 

Counsel for Defendant(s)

 

UNITED sATE DSTIIC COUR - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20398 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

